



















NO. 07-09-00375-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



JULY
27, 2010

&nbsp;



&nbsp;

CARLOS BARRIENTOS MARTINEZ, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 121ST DISTRICT COURT OF YOAKUM
COUNTY;

&nbsp;

NO. 2690; HONORABLE KELLY G. MOORE, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Appellant, Carlos Barrientos
Martinez, pleaded guilty to possessing less than one gram of a controlled
substance,[1]
a state-jail felony, after the trial court overruled his motion to suppress the
evidence seized pursuant to a search warrant.&nbsp;
The trial court imposed a two-year sentence, probated for five
years.&nbsp; Appellant appeals the trial
court’s ruling on his motion to suppress.&nbsp;
We affirm.

&nbsp;

&nbsp;

Factual and Procedural History

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
his sole issue on appeal, Martinez contends that the trial court erred by
overruling his motion to suppress because the affidavit in support of the
search warrant contained false statements from Denver City Police Officer Noe
Valdez.&nbsp; Specifically, appellant
challenges the validity of the affidavit and the search warrant it supported on
the basis of Valdez’s statement that the Ledo Street residence to be searched
was “in the charge of and controlled by” appellant at the time the affidavit was
made.&nbsp; Appellant alleges that he was not
a resident of that house at that time and that Valdez’s statement to the
contrary is a material falsehood made knowingly, intentionally, or recklessly
and, thus, it must be excised from the affidavit pursuant to Franks v.
Delaware, 438 U.S. 154, 155–56, 98 S.Ct. 2674; 57 L.Ed.2d 667 (1978).&nbsp; Further, according to appellant, excising the
misstatement would invalidate the warrant because it would no longer
specifically identify the premises to be searched.&nbsp; 

Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
begin our review under the presumption that the affidavit in support of the
search warrant is valid.&nbsp; See Cates
v. State, 120 S.W.3d 352, 355 (Tex.Crim.App.
2003).&nbsp; We review the trial court’s
ruling on a motion to suppress for abuse of discretion.&nbsp; State v. Dixon, 206
S.W.3d 587, 590 (Tex.Crim.App. 2006).&nbsp;
The determination of whether a probable cause affiant’s statement was
deliberately false or made with reckless disregard for the truth is a question
of fact, and we give great deference to the trial court in its role as the sole
trier of fact and judge of the credibility of the witnesses.&nbsp; See Janecka v. State, 937
S.W.2d 456, 462 (Tex.Crim.App. 1996); Blocker v. State, 264 S.W.3d 356,
358 (Tex.App.—Waco 2008, no pet.).

Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Ordinarily,
when we determine the validity of a search warrant affidavit, our review is
limited to the four corners of the affidavit.&nbsp;
See Jones v. State, 833 S.W.2d 118,
123 (Tex.Crim.App. 1992).&nbsp; However,
“where the defendant makes a substantial preliminary showing that a false
statement knowingly and intentionally, or with reckless disregard for the
truth, was included by the affiant in the warrant affidavit, and if the
allegedly false statement is necessary to the finding of probable cause, the
Fourth Amendment requires that a hearing be held at the defendant’s
request.”&nbsp; Franks,
438 U.S. at 155–56.&nbsp; If the
defendant has made a substantial preliminary showing of deliberate falsity, the
trial court is required to go behind the “four corners” of the affidavit in a Franks evidentiary hearing.&nbsp; Cates, 120 S.W.3d at
355 n.3.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
defendant makes a substantial preliminary showing and, thus, gains the right to
an evidentiary hearing, under Franks, by satisfying a three-part
test.&nbsp; See Harris v. State,
227 S.W.3d 83, 85 (Tex.Crim.App. 2007).&nbsp; First, the defendant must allege a deliberate
falsehood or reckless disregard for the truth by the affiant, specifically
pointing out the portion of the affidavit claimed to be false.&nbsp; Id.&nbsp;
Secondly, the defendant must accompany these allegations with an offer
of proof stating the support for such allegations.&nbsp; Id.&nbsp;
Finally, the defendant must show that, when the portion of the affidavit
alleged to be false is excised from the affidavit, the remaining content is
insufficient to support the issuance of the warrant.&nbsp; Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; At
the hearing on the motion to suppress, the movant has the burden of
establishing the allegation of perjury or reckless disregard for the truth by a
preponderance of the evidence.&nbsp; See Franks, 438 U.S. at 156; Harris, 227
S.W.3d at 85; Jordan v. State, 271 S.W.3d 850, 854 (Tex.App.—Amarillo
2008, pet. ref’d).&nbsp; If, after the
hearing, the trial court determines the defendant has met his burden of proof,
the false information contained in the warrant affidavit must be disregarded.&nbsp; See Franks, 438 U.S. at 156. If
the remainder of the affidavit does not contain sufficient probable cause to
support the issuance, the warrant is voided and any evidence obtained as a
result of its issuance must be excluded.&nbsp;
Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As
we review the record to determine whether appellant met his burden of showing
deliberate falsity or reckless disregard for the truth, we are mindful that the
Fourth Amendment requires a truthful factual showing when determining probable
cause.&nbsp; See id. at 164–65.&nbsp; “Truthful,”
however, does not mean that every fact recited in the affidavit is necessarily
correct.&nbsp; Id. at
165.&nbsp; Instead, “truthful” means
that the information put forth in the affidavit is believed or appropriately
accepted by the affiant as true.&nbsp; Id.&nbsp; The exclusionary rule in Franks does
not extend to instances in which the police act “merely negligently” in
collecting the facts alleged in the affidavit.&nbsp;
See id. at 170.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
testified that he had lived at the Ledo Street residence but that he had moved
out approximately six months prior to the execution of the search warrant.&nbsp; At the time of the search, appellant was
living with his brother about two blocks away from the Ledo Street
residence.&nbsp; He denied that he still had
some clothing at the Ledo Street residence.&nbsp;
He admitted that he returned to his former residence to visit and drink
with his friends but that he only “rarely” stayed overnight there.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Valdez
testified that, according to the “information that [he] obtained,” appellant
was living at the residence.&nbsp; Valdez
explained that information from the confidential informant, whom he described
as reliable, and complaints from concerned citizens in that neighborhood led
him to believe that the premises to be searched were controlled by
appellant.&nbsp; His surveillance of the
premises supported such a conclusion when Valdez observed appellant at the
residence.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; One
of appellant’s friends, a codefendant who lived at the residence, testified
that appellant had moved out approximately three months before the search but
still had clothing at the residence.&nbsp;
From the witness’s description, those clothes were limited to some work
attire.&nbsp; He added that appellant
frequently came over to the residence but did not have a key to the door.&nbsp; He later clarified, though, that none of the
residents had a key and that they used a knife to gain access to the
residence.&nbsp; He testified that appellant
no longer paid rent at the residence at the time of the search.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
assume, without deciding, that appellant sufficiently satisfied the three-part
test that would entitle him to a Franks hearing.&nbsp; Based on evidence presented at the hearing,
we cannot say that the trial court abused its discretion by determining that
Valdez’s statement was not deliberately false or made with reckless disregard
for the truth.&nbsp; See Janecka,
937 S.W.2d at 465.&nbsp;
The evidence shows that appellant had lived at the residence and
frequently visited there.&nbsp; Valdez
testified that he had obtained the information in the affidavit from the confidential
informant, neighborhood complaints, and his own surveillance.&nbsp; Based on such evidence, the trial court could
have rejected appellant’s allegation that Valdez included the challenged
statement in the affidavit knowing that such statement was false or in reckless
disregard for the truth.&nbsp; See Blocker,
264 S.W.3d at 359–60 (observing, during discussion of Franks claim, that
even if defendant were “only a houseguest, living in the trailer with the
permission of the host, he had apparent authority over the residence”).&nbsp; Affording the trial court proper deference in
making such a factual determination, we overrule appellant’s sole issue on
appeal.&nbsp; See Janecka, 937 S.W.2d at 462.

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Having
overruled appellant’s sole issue on appeal, we affirm the trial court’s judgment.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Mackey
K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

Do not publish.&nbsp;&nbsp; 











[1] See Tex. Health &amp; Safety Code Ann. §
481.115(b) (Vernon Supp. 2009).







